Entered: June 22, 2012   Case 10-37371      Doc 520      Filed 06/22/12      Page 1 of 3
Signed: June 21, 2012
SO ORDERED
No response or objection.




                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF MARYLAND
                                           (Greenbelt Division)

                                                            )   Chapter 11
        In re:                                              )
                                                            )   Case No. 10-37371 (TJC)
        KH FUNDING COMPANY,                                 )
                                                            )
                              Debtor.                       )
                                                            )


                  ORDER GRANTING SECOND AND FINAL APPLICATION OF
                MCGUIREWOODS LLP FOR ALLOWANCE OF COMPENSATION
          FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
                FOR THE PERIOD SEPTEMBER 1, 2011 THROUGH APRIL 30, 2012

                 Upon consideration of the Second and Final Application of McGuireWoods LLP

        (“McGuireWoods”) for Allowance of Compensation for Services Rendered and Reimbursement

        of Expenses Incurred (the “Application”) for the Period September 1, 2011 through April 30,

        2012 (the “Second Application Period”), and final allowance for the period beginning on

        February 14, 2011, the effective retention date of McGuireWoods, through April 30, 2012, the

        effective date of the Debtor’s confirmed Chapter 11 plan of reorganization (the “Final

        Application Period”), as local counsel to the Official Committee of Unsecured Creditors (the



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“Committee”) of KH Funding Co., the above-captioned debtor and debtor-in-possession (the

“Debtor”), adequate and proper notice having been circulated, and after due consideration of any

timely objections to said Application and any hearing held thereon, and it appearing that the

compensation requested is reasonable and a benefit to the Debtor’s estate, it is by the United

States Bankruptcy Court for the District of Maryland,

                ORDERED, that the request contained within the Application be, and the same is

hereby, approved and allowed in the amount of $7,977.50 as compensation for professional

services rendered, and $357.53 as reimbursement of expenses incurred during the Second

Application Period; and it is further

                ORDERED, on a final basis the allowance of compensation and reimbursement

of expenses to McGuireWoods, for the Final Application Period, in the amount of $25,529.50 for

professional services rendered and expenses in the amount of $806.84.



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                                      END OF ORDER




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